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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 MHL CUSTOM, INC.,

                       Plaintiff,

        v.
                                                       C.A. No. 21-0091-RGA
 WAYDOO USA, INC. and SHENZHEN
 WAYDOO INTELLIGENCE
 TECHNOLOGY CO., LTD.,

                       Defendants.


                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1.4, Defendants Waydoo USA, Inc. and Shenzhen Waydoo

Intelligence Technology Co., Ltd. request oral argument on Defendants’ Renewed Motion for

Judgment as a Matter of Law and Motion for a New Trial (D.I. 234) and Plaintiff’s Motions for

Permanent Injunction (D.I. 230), Attorneys’ Fees and Expenses (D.I. 231), Enhanced Damages

(D.I. 232), and Supplemental and/or Ongoing Damages, and For Pre-Judgment and Post-Judgment

Interest (D.I. 233). Briefing on Defendants’ motion (D.I. 236, D.I. 245, D.I. 252) and Plaintiffs’

motions (D.I. 235, D.I. 246, D.I. 250) are complete.
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